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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


____________________________________
John Doe,                           )
               Plaintiff,           )                              1:18-cv-12150-IT
       v.                           )
                                    )
Harvard University et al.           )
               Defendants.          )
____________________________________)

                                   ORDER OF RECUSAL

Kelley, M.J.

       I hereby recuse myself from the consideration of the above-entitled case pursuant to 28
U.S.C. § 455.



SO ORDERED.



                                     /s/ M. Page Kelley
                                     M. Page Kelley
                                     United States Magistrate Judge

Date: January 2, 2020
